     Case 5:14-cv-00231-JGB-DTB Document 8 Filed 04/04/14 Page 1 of 2 Page ID #:62



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9                       UNITED STATES DISTRICT COURT
10
                       CENTRAL DISTRICT OF CALIFORNIA

11   CARRIE COUSER,          ) Case No. 5:14-cv-00231-JGB-DTB
12          Plaintiff,       )
                             )
13
         vs.                 ) NOTICE OF SETTLEMENT
14                           )
                             ) Hon. Jesus G. Bernal
15
     COLLECTO, INC.,         )
16           Defendant.      )
17
                             )
                             )
18
         NOW COMES THE PLAINTIFF by and through her attorney to
19
     respectfully notify this Honorable Court that this case has settled. Plaintiff
20

21   requests that this Honorable Court allow sixty (60) days with which to file
22
     dispositive documentation. A Joint Stipulation for Dismissal will be forthcoming.
23

24   This Court shall retain jurisdiction over this matter until fully resolved.
25
                  Respectfully submitted this 4th day of April, 2014.
26

27
                                            By: s/Todd M. Friedman
                                               TODD M. FRIEDMAN
28                                             Law Offices of Todd M. Friedman, P.C.
                                               Attorney for Plaintiff


                                        Notice of Settlement - 1
     Case 5:14-cv-00231-JGB-DTB Document 8 Filed 04/04/14 Page 2 of 2 Page ID #:63



1    Filed electronically on this 4th day of April, 2014, with:
2
     United States District Court CM/ECF system
3

4    Notification sent electronically via the Court’s ECF system to:
5
     Honorable Jesus G. Bernal
6    United States District Court
7    Central District of California
8
     Tamar Gabriel
9    CARLSON & MESSER LLP
     5959 W. Century Blvd
10
     #1214
11   Los Angeles CA 90045
12   Attorney for Defendant
13
     This 4th day of April, 2014.
14
     s/Todd M. Friedman
15
     Todd M. Friedman
16

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                                        Notice of Settlement - 2
